  Case: 6:18-cv-00145-GFVT Doc #: 35 Filed: 07/13/18 Page: 1 of 1 - Page ID#: 239


                                                                                      Summons Division
                                                                                        PO BOX 718
                                        Commonwealth of Kentucky           FRANKFORT, KY 40602-0718
Alison Lundergan Grimes
Secretary of State                     Office of the Secretary of State          Phone: (502) 564-3490
                                                                                   Fax: (502) 564-5687




U. S. District Court
Eastern District
300 South Main Street
                                                                          Eastern District of Kentucky
PO Box 5121                                                                     FILED
London, KY 40745-5121
                                                                               JUL 13 2018
                                                                                   AT LONDON
FROM:                     SUMMONS DIVISION                                       ROBERT R. CARR
                          SECRETARY OF STATE                                CLERK U.S. DISTRICT COUiff


RE:                      CASE NO: 6:18-CV-145-GFVf

DEFENDANT: CAPITAL ONE SERVICES, INC.

DATE:                    July 9, 2018




The Office of the Secretary of State was served with a summons and accompanying
documents for the captioned defendant on

June 26, 2018

This office served the defendant by sending a copy of the summons and accompanying
documents via certified mail, return receipt requested, on

June 26, 2018

We are enclosing the return receipt confirming receipt of summons.




Kentucky Secretary of State's Office            Summons Division                               7/9/2018
